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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

UNITED STATES OF AMERICA,                           )   CASE NO.: 5:25CR298
                                                    )
               Plaintiff,                           )   JUDGE JOHN R. ADAMS
                                                    )
       v.                                           )
                                                    )
ERIC WIREDU,                                        )   MOTION TO TRANSFER RELATED
                                                    )   CASE TO THE DOCKET OF JUDGE
               Defendant.                           )   J. PHILIP CALABRESE
                                                    )

       Now comes the United States of America, by and through its counsel, Carol M. Skutnik,

Acting United States Attorney, and Yasmine Makridis, Assistant United States Attorney, and

moves this Court for an order, pursuant to Local Rule 57.9(b)(3), reassigning this case to the

docket of Judge J. Philip Calabrese. This motion is made as Case Number 5:25CR267, United

States v. Zoma M. Shaikh, is currently pending and is assigned to Judge J. Philip Calabrese. This

matter charges crimes that are part of the same fact situation and allegations involved in Case

Number 5:25CR267. To allow for the expeditious administration of these cases, the government

respectfully requests that the Court immediately enter an order transferring this matter to the

docket of Judge J. Philip Calabrese.

       WHEREFORE, the United States respectfully requests that this Court order the instant

case transferred to the docket of Judge J. Philp Calabrese.

                                                        Respectfully submitted,

                                                        CAROL M. SKUTNIK
                                                        Acting United States Attorney

                                              By:       /s/ Yasmine Makridis
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